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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )        8:05CR422
                      Plaintiff,              )
                                              )           ORDER
               vs.                            )
                                              )
ROSE MEROLLA,                                 )
                                              )
                      Defendant.              )


         Defendant’s Motion to Continue the plea hearing (Filing No. 70) is granted.

      IT IS ORDERED that the Change of Plea hearing is continued to July 21, 2006 at
10:30 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between July 10, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 10th day of July, 2006.
                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
